Case 1:20-cv-03010-APM Document 557-11 Filed 03/13/23 Page 1 of 2
1/25/23, 8:59 PM      Case 1:20-cv-03010-APM Document     557-11
                                               Microsoft builds        Filed
                                                                Bing Search App03/13/23
                                                                                for Android Page 2 of 2



        Microsoft builds Bing Search App for Android
        Pigs are flying over a frozen river of Hades.



        In case you like Google (GOOG) for its AndroidOS but hate their search engine, Microsoft
        (MSFT) has built a Bing Search Engine. For now, like Skype, it is only available on Verizon’s
        Android phones.

        The Bing app has some interesting features that may or may not grab some customers

                   The app homepage features the Bing image of the day, flickable back seven days
                   The image search feature has endless scrolling results
                   Voice Search for ” relevant answers for things like movies, stock quotes, flight status and
                   local listings”
                   It also has a Maps app built in.

        That last feature is interesting for me because it may provide different results than Google’s Maps
        which are sometimes off or questionable. In fact, one could argue that it is good to have a Google
        alternative in all of the above areas.

        On the Microsoft side, perhaps this is their hedge against Windows Mobile 7 failure. The app is big
        enough to be the starting point to an OS inside an OS with all of the features listed above.

        It will be interesting to see how Microsoft’s Google app develops and whether it comes to the general
        Android Market or stays a Verizon ‘exclusive’




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